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                                                 U.S. Department of Justice

                                                       United States Attorney
                                                       Southern District of New York
Or                                                     The Jacob K. Javits Building
                                                       26 Federal Plaza, 37th Floor
                                                       New York, New York 10278


                                                       May 8, 2025
VIA ECF
The Honorable Barbara Moses
United States Magistrate Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

        Re:    United States v. Hwang & Halligan,
               S1 22 Cr. 240 (AKH) (BCM)

Dear Judge Moses:

       As directed by the Court in its Scheduling Order dated May 7, 2025 (ECF Doc. 413), the
Government respectfully writes to advise the Court of how it intends to proceed at the Phase I
hearing scheduled for May 9, 2025.

        First, as to the two individuals identified by the Court as “plausible” knowing participants
in the criminal conduct (ECF Doc. 413 at 2-3), the Government advises the Court that it does not
intend to present further testimony or evidence at the Phase I hearing. Based on the letter filed by
counsel for these employees (ECF Doc. 414), it appears that counsel will make them available at
the Phase I hearing; the Government, however, will not call them as witnesses.

         Second, on the issue of coercion (ECF Doc. 413 at 6), the Government advises the Court
that it does not intend to present testimony or new documentary evidence at the Phase I hearing as
to whether the elections made by the sixteen employees challenged by defendant Hwang were
coerced rather than truly voluntary. The Government, however, has no objection to counsel’s
request to submit affidavits on the issue of coercion for the Court’s consideration. (See ECF Doc.
414).

                                                    Respectfully submitted,

                                                    JAY CLAYTON
                                                    United States Attorney

                                              By:
                                                    Alexandra Rothman
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cc:     Counsel of Record (via ECF and email)
